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                    16.   Counsel for Defendant states that Counsel has read this agreement, been given a

            copy of it for Counsel's file, explained it to Defendant, and states that to the best of Counsel's

            knowledge and belief, Defendant understands the agreement.

                    17.   Defendant states that Defendant has read the agreement or has had it read to

            Defendant, has discussed it with Defendant's Counsel, understands it, and agrees to its

            provisions.




                                                                     Date
                                                                         /� //,, /}/
             Defendant

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            TIMOµqY;MORG , ESQ.
            Cour;is'el j6r DefeJ\dant                                Date


                                                                       1/14/2021
             GERARD B. SULLIVAN                                      Date
             Assistant U.S. Attorney


                                                                      1/14/2021
             WILLIAM J. FERLAND                                      Date
             Assistant U.S. Attorney
             Chief, Criminal Division




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